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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA                         :   CRIMINAL NO.
                                                  :
              v.                                  :
                                                  :
 SHELLY VARNEY,                                   :   VIOLATIONS:
                                                  :   18 U.S.C. § 641
                    Defendant.                    :   (Theft of Government Property)
                                                  :   18 U.S.C. § 1752(a)(1)
                                                  :   (Entering and Remaining in a Restricted
                                                  :   Building or Grounds)
                                                  :


                                          INFORMATION

       The United States Attorney charges that:


                                           COUNT ONE

       On or about January 6, 2021, within the District of Columbia, SHELLY VARNEY, did

embezzle, steal, purloin, knowingly convert to her use and the use of another, and without

authority, sold, conveyed and disposed of any record, voucher, money and thing of value of the

United States and any department and agency thereof, that is, a United States flag and flagpole,

which have a value of less than $1,000.

       (Theft of Government Property, in violation of Title 18, United States Code, Section
       641)


                                          COUNT TWO

       On or about January 6, 2021, within the District of Columbia, SHELLY VARNEY, did

knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off,

and otherwise restricted area within the United States Capitol and its grounds, where the Vice
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President was and would be temporarily visiting, without lawful authority to do so.

       (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
       United States Code, Section 1752(a)(1))



                                                    Respectfully submitted,

                                                    MATTHEW M. GRAVES
                                                    United States Attorney
                                                    DC Bar No. 481052


                                            By:     /s/Michael M. Gordon_____________
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